        Case 4:11-cr-00156-JM          Document 794        Filed 04/13/16      Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                                PLAINTIFF

v.                                  NO. 4:11CR00156-07-JLH

JUANA PATRICIA BAMAC-PEREZ                                                           DEFENDANT

                                             ORDER

       As explained in the April 8, 2015 Order, defendant Juana Bamac-Perez’s original sentence

is at the bottom of the new range because of a variance, so she is not eligible for a reduction under

Amendment 782. Document #764. Accordingly, her third motion for two point reduction is

DENIED. Document #793.

       IT IS SO ORDERED this 13th day of April, 2016.



                                                      __________________________________
                                                      UNITED STATES DISTRICT JUDGE
